Case 0:23-cv-60020-RAR Document 11 Entered on FLSD Docket 03/10/2023 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                 CASE NO.: 0:23-CV-60020-RAR
  HOWARD COHAN,

         Plaintiff,

  vs.

  S 3 HOSPITALITY MIAMI, LLC,
  a Florida Limited Liability Company,
  d/b/a HOTEL DELLO,

        Defendant(s).
  ____________________________________/

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN, and his

  undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

  with prejudice against Defendant, S 3 HOSPITALITY MIAMI, LLC, a Florida Limited Liability

  Company d/b/a HOTEL DELLO.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 10, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on Defendant’s Representative, via email at: sunny35@bellsouth.net


                                                  By: /s/ Gregory S. Sconzo
                                                  Gregory S. Sconzo, Esq.
                                                  Florida Bar No.: 0105553
                                                  Samantha L. Simpson, Esq.
                                                  Florida Bar No.: 1010423
                                                  Sconzo Law Office, P.A.
                                                  3825 PGA Boulevard, Suite 207
                                                  Palm Beach Gardens, FL 33410
                                                  Telephone: (561) 729-0940
                                                  Facsimile: (561) 491-9459
                                                  Email: greg@sconzolawoffice.com
                                                  Email: samantha@sconzolawoffice.com
Case 0:23-cv-60020-RAR Document 11 Entered on FLSD Docket 03/10/2023 Page 2 of 2




                                        Email: alexa@sconzolawoffice.com
                                        Attorney for Plaintiff
